 Probation Form No. 35                               Report and Order Terminating Probation /
 (1/92)
                                                                           Supervised Release
                                                             Prior to Original Expiration Date

                           UNITED STATES DISTRICT COURT
                                         for the
                            Western District of North Carolina


UNITED STATES OF AMERICA

                   vs.                                            Crim. No. 3:92CR00183-08-P

Reginald Robert Walker


       On 1/31/2004 the above named was placed on Supervised Release for a period of 5 years.
He has complied with the rules and regulations of Supervised Release and is no longer in need of
supervision. It is accordingly recommended that Reginald R. Walker be discharged from
supervision.


                                            Respectfully submitted,

                                     by       s/ Cheryl R. Banks
                                            Cheryl R. Banks
                                            Senior U.S. Probation Officer
                                            200 S. College Street, Suite 1650
                                            Charlotte, NC 28202-2005
                                            (704) 350-7675

Approved By:

     s/ Randall T. Richardson
Randall T. Richardson
Supervising U.S. Probation Officer




      Case 3:92-cr-00183-RJC-DCK          Document 1       Filed 07/12/07       Page 1 of 2
                                  ORDER OF THE COURT

       Pursuant to the above report, it is ordered that the defendant be discharged from
Supervised Release and that the proceedings in the case be terminated.

                                             Date: July 12, 2007




     Case 3:92-cr-00183-RJC-DCK            Document 1       Filed 07/12/07     Page 2 of 2
